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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )         Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                      DECLARATION OF YOLANDA DOE

      I, Yolanda Doe, declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I am a member of the American Foreign Service Association.

      3.     I have been a Program Officer FSO at USAID for about 16 years, and

Program Officers (and Program Offices) are responsible for ensuring development

strategies, programs, funding, etc. for their operating unit are all planned and

reported on in accordance with law and USAID policies and procedures.

      4.     I write in response to the assertions that “it is currently impossible to

access sufficient information in one place to determine whether the foreign assistance

policies and interests supported by appropriations are not duplicated, are effective,

and are consistent with President Trump’s foreign policy” and “it was impossible to

review existing programs without shutting everything down.” The assertion that the
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Government is making that it is impossible to review all USAID programs without

shutting them down is false. Every other new Presidential administration reviewed

plans and programs and worked with USAID staff to align programs to the new

priorities. For this current Administration, as with all new administrations, USAID

staff were standing by to participate in the review, but for this transition, we never

received any guidance on how to provide information to support a review.

      5.     Every year, budget plans (“Operational Plans”) are developed for all

foreign assistance funds. For USAID, these plans are very detailed; they identify each

project/activity/award (including the start and end dates and the implementing

partner) and describe what that project/activity/award does (or will do if it is still in

design or procurement), how much of that fiscal year's funds it will receive, what it

will use those funds to do, and how it aligns with the current Administration's

objectives. This is done for all foreign assistance funds, including USAID operating

units (overseas Missions and Bureaus in Washington). These plans are organized by

strategic objective (which are directly linked to the current Administration's

priorities and strategies) and cleared by the head of the USAID Operating Unit

(Mission Director or Senior Deputy Assistant Administrator) as well as

representatives in USAID's BRM (Budget, Resource and Management), and then

reviewed and approved by the Foreign Assistance Office ("F") at State Department.

For Missions overseas, the Ambassador also reviews and certifies the plan. During

the first Trump Administration someone in the Secretary of State's office reviewed

and questioned all Operational Plans to ensure alignment with the Administration's



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priorities before the plans were approved and funds were allowed to be obligated.

These plans are input into the FACTSInfo database, so that all internal State

Department and USAID staff have access to them. It is required to update the

Operational Plans and project/activity/award information at least annually

(generally just before the next Operational Plan will be developed). Much of this

information is also pushed to a public website (foreignassistance.gov). The

FACTSInfo database has the capacity to produce a variety of reports, including

reports for all projects/activities/awards for specific Operational Plan years and/or for

particular operating units, etc. It is able to filter out reports for just USAID if the

Administration does not want to review foreign assistance programs for other

Agencies working in the same overseas Mission (the Operational Plan is for all foreign

assistance programming in that operating unit, so that can include State Department

and other agencies). The Administration could have asked for specific reports from

the system to support their review, even without the need to even involve USAID

staff in the process (if that is what they preferred). Certainly, a review could easily

happen without shutting down programs as information is readily available to

support the review and USAID staff have been standing by to support the review and

any questions.

      6.     In addition, FACTSInfo also houses Performance Plans and Reports

(PPRs), which are reports on results and progress for all foreign assistance programs,

including USAID operating units. Reports from this module in FACTSInfo could also

provide additional information on the progress of particular programs, if the



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Administration would find that useful. At the same time that we do the PPR, USAID

also updates its evaluation registry, which is housed in FACTInfo. This shows all the

external evaluations of projects and activities, including their key findings and how

those findings will be used. Further, USAID has numerous processes outlined in the

ADS (particularly ADS 201) and displayed in the Program Cycle to help ensure that

programs are effective and that we as an Agency learn and adapt to improve our

programs for maximum results achievement.

      7.     It is important to note that Operational Plans and PPRs are aligned with

a cascading set of strategies that directly tie to the Administration's priorities. A new

Presidential Administration first develops a new National Security Strategy (NSS).

That strategy is used to develop a State USAID Joint Strategic Plan (JSP), which is

in turn used to develop for overseas posts an Integrated Country Strategy (ICS),

which is coordinated by the Department of State and aligns all USG efforts directly

to the NSS and JSP. USAID also develops for Missions overseas Country

Development Cooperation Strategies (CDCSs), which link directly to the ISC. The

ICSs and CDCSs basically provide more details on the priorities of posts and how

they directly link with the JSP and NSS. This Administration could have followed

the process of all other new Administrations by first articulating their priorities

through this strategy cascade and reviewing all Operational Plans (prior and going

forward) for alignment with their new priorities.

             I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 11, 2025.



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                                    /s/ Yolanda Doe
                                    Yolanda Doe




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